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 1   DAVID A. TORRES AND ASSOCIATES
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 2   1318 K. Street
     Bakersfield, CA 93301
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     Fax: (661)326-0936
 4   Email: dtorres@lawtorres.com
 5   Attorney for
     ALFONSO RIOS-AYON
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9                                                   ) Case No.: 1:16-CR-000096 LJO-SKO
     UNITED STATES OF AMERICA,                       )
10                                                   ) STIPULATION AND ORDER TO
                    Plaintiff,                       ) CONTINUE THE SENTENCING DATE
11                                                   )
            vs.                                      )
12                                                   )
     ALFONSO RIOS-AYON,                              )
13                                                   )
                    Defendant                        )
14
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
15
     LAWRENCE J. O’NEILL AND BRIAN DELANEY SHERRIFF, ASSISTANT UNITED
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     STATES ATTORNEY:
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            COMES NOW Defendant, ALFONSO RIOS-AYON by and through his attorney of
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     record, David A. Torres, hereby requesting that the sentencing hearing currently set for Monday,
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     December 18, 2017 be continued to Monday, January 8, 2018.
20
            My wife and I are celebrating our 34th wedding anniversary and have purchased flight
21
     tickets to Mexico, departing the 15th of December and returning the 3rd of January 2018.
22
            AUSA Brian Delaney is unavailable on the 11th of December, however, has confirmed
23
     his availability on January 8, 2018. The parties also agree the delays resulting from the
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     continuance shall be excluded in the interest of justice pursuant to 18 USC 3161 (h)(7)(A) and
25
     3161 (h)(7)(B)(1).



                          Stipulation and Proposed Order to Continue Sentencing
                                                    1
          Case 1:16-cr-00096-LJO-SKO Document 130 Filed 12/06/17 Page 2 of 2


 1         IT IS SO STIPULATED.

 2                                                            Respectfully Submitted,

 3   DATED: 12/6/17                                           /s/ David A Torres     ___
                                                              DAVID A. TORRES
 4                                                            Attorney for Defendant
                                                              ALFONSO RISO-AYON
 5

 6

 7   DATED: 12/6/17                                           /s/Brian Delaney__________
                                                              BRIAN DELANEY
 8                                                            Assistant U.S. Attorney

 9

10

11                                             ORDER

12         Pursuant to the stipulation, the sentencing hearing is continued to January 8, 2018.

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     IT IS SO ORDERED.
14

15      Dated:   December 6, 2017                       /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
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                        Stipulation and Proposed Order to Continue Sentencing
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